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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 THIS, LLC,                                       )   3:23-cv-1579 (SVN)
       Plaintiff,                                 )
                                                  )
        v.                                        )
                                                  )
 HOLABELLE, INC., et al.,                         )
     Defendants.                                  )   February 20, 2025

             ORDER GRANTING STIPULATED PRELIMINARY INJUNCTION

Sarala V. Nagala, United States District Judge.

       Plaintiff This, LLC (“TLLC”) and Defendants HolaBelle, Inc. a/k/a KooKooDoo Fun Play,

Inc., Todd Glonek, and Ya Lan Yang a/k/a Yalan Yang a/k/a Stella Yang (collectively, the

“HolaBelle Defendants”) jointly seek an order granting TLLC a preliminary injunction pursuant

to Rule 65 of the Federal Rules of Civil Procedure and Section 34 of the Lanham Act. See Joint

Mot. for Stipulated Prelim. Inj., ECF No. 187. The Parties are in agreement that this Order shall

not be offered by TLLC as proof against the HolaBelle Defendants or give rise to any presumptions

against the HolaBelle Defendants in this matter for anything other than any future violation of this

Order. See id. at 2.

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure and Section 34 of the Lanham

Act, it is HEREBY ORDERED that the Joint Motion for Stipulated Preliminary Injunction (the

“Motion”) is GRANTED as follows:

       Defendants Ms. Yang, Mr. Glonek, and HolaBelle, as well as HolaBelle’s officers, agents,

servants, employees, and any persons acting in concert or participation therewith are hereby

ENJOINED and RESTRAINED from:

             (a) manufacturing, importing, exporting, distributing, marketing, offering to sell,

                and/or selling wooden sticks that could sticks that could be used to roast
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               marshmallows, including, without limitation, the HolaBelle Mallosticks products

               depicted in Exhibit A to the Motion, ECF No. 188;

           (b) reproducing, copying, displaying, disseminating, or otherwise making any use of

               TLLC’s registered and common law trademarks, trade dress, and copyrighted

               works for its SMORSTIX® products, packaging, and floor display stands,

               including, without limitation, the trademarks covered by U.S. Reg. Nos. 2,453,828

               and 2,661,336, or any word, designs, logos, or symbols substantially or confusingly

               similar thereto, nor authorize or instruct any third party to do the same; and

           (c) using, enabling others to use, and/or knowingly aiding and assisting others to use,

               in any manner, the TLLC IP, as defined in the Motion, or any copy, counterfeit, or

               confusingly similar imitation thereof in connection with the manufacturing,

               shipping, importing, exporting, distributing, marketing, advertising, promoting,

               offering for sale, selling, returning, and/or disposing of any goods or services in the

               United States, or otherwise misrepresenting or passing off any goods or services as

               being in any way affiliated with, sponsored by, originating from, or under the

               control of TLLC.

       IT IS FURTHER ORDERED that this Preliminary Injunction shall remain in effect

pending final adjudication or disposition of this matter as it relates to the HolaBelle Defendants.

       IT IS FURTHER ORDERED that the Court has made no findings in connection with its

granting of the Preliminary Injunction.




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       IT IS FURTHER ORDERED that the Parties each reserve the right to present evidence

on all claims raised through the Amended Complaint and any counterclaims and/or defenses

asserted by the HolaBelle Defendants in response thereto.



       SO ORDERED at Hartford, Connecticut, this 20th day of February, 2025.


                                             /s/ Sarala V. Nagala
                                            SARALA V. NAGALA
                                            UNITED STATES DISTRICT JUDGE




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